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                                   UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA

19    CHASOM BROWN, MARIA NGUYEN,
      WILLIAM BYATT, JEREMY DAVIS, and                 Case No.: 5:20-cv-03664-LHK
20    CHRISTOPHER CASTILLO, individually
21    and on behalf of all other similarly situated,   DECLARATION OF AMANDA BONN IN
                                                       OPPOSITION TO DEFENDANT
22                   Plaintiffs,                       GOOGLE’S MOTION TO DISMISS
                                                       PLAINTIFFS’ FIRST AMENDED
23    vs.                                              COMPLAINT
24
      GOOGLE LLC,                                      The Honorable Lucy H. Koh
25                                                     Courtroom 8 – 4th Floor
                     Defendant.                        Date: February 25, 2021
26                                                     Time: 1:30 p.m.
27

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            BONN DECL. IN OPPOSITION TO GOOGLE’S MOTION TO DISMISS
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1                                DECLARATION OF AMANDA BONN
2           I, Amanda Bonn, declare as follows.
3           1. I am a partner with the law firm of Susman Godfrey L.L.P, counsel for Plaintiffs in this
4    matter. I am an attorney at law duly licensed to practice before all courts of the State of California.
5    I have personal knowledge of the matters set forth herein and am competent to testify.
6           2. Attached hereto as Exhibit 1 is a true and correct copy of Google’s Privacy Policy in
7    effect between March 31, 2020 and July 1, 2020, which I last accessed on November 18, 2020, on
8    the publicly available website https://policies.google.com/privacy/archive/20200331.
9           I declare under penalty of perjury under the laws of the United States of America that the
10 foregoing is true and correct. Executed this 18th day of November, 2020, at Los Angeles, California.

11
                                                            /s/ Amanda Bonn___________________
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            BONN DECL. IN OPPOSITION TO GOOGLE’S MOTION TO DISMISS
